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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:16-CR-00020 TLN
12                                  Plaintiff,
                                                            STIPULATION AND [PROPOSED]
13   v.                                                     PROTECTIVE ORDER BETWEEN
                                                            THE UNITED STATES AND MARTIN
14   MARTIN MARCIANO BOONE, and                             MARCIANO BOONE AND RONDA
     RONDA BOONE,                                           BOONE
15
                                    Defendants.
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17
                                                  STIPULATION
18
              Plaintiff United States of America, by and through its counsel of record, and defendants
19
     MARTIN MARCIANO BOONE and RONDA BOONE, by and through their counsel of record,
20
     hereby stipulate as follows:
21
              1.     This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
22
     Criminal Procedure, and its general supervisory authority.
23
              2.     This Stipulation and Order pertains to all discovery provided to or made available to
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     Defense Counsel as part of discovery in this case except for any discovery solely containing the
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     personal tax or financial information for the defendants. The discovery covered by this Order shall
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     hereafter be referred to as the “protected discovery.”
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          Stipulation and [Proposed] Protective
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 1          3.      Defense counsel shall not disclose any of the protected discovery to any person other

 2 than his/her respective defendant/client, witnesses that he/she is interviewing or preparing for trial,

 3 or attorneys, law clerks, paralegals, secretaries, experts, and investigators involved in the

 4 representation of the defendant in connection to this criminal case.

 5          4.      The protected discovery and information therein may only be used in connection with

 6 the litigation of this case and for no other purpose. The protected discovery is now and will forever

 7 remain the property of the United States Government. Defense counsel will, either (a) return the

 8 protected discovery; (b) certify that it has been shredded at the conclusion of the case; or (c) notify

 9 the Government that defense counsel’s document retention obligations expressly disallow defense

10 counsel from destroying client’s case file without the client’s express consent.

11          5.      In the event that the defendants obtain substitute counsel, undersigned defense

12 counsel agrees to withhold the protected discovery from new counsel unless and until substituted

13 counsel agrees to be bound by this order.

14          6.      Defense counsel will store the protected discovery in a secure place and will use

15 reasonable care to ensure that it is not disclosed to third persons in violation of this agreement.

16          7.      If defense counsel makes, or causes to be made, any further copies of any of the

17 protected discovery, defense counsel will inscribe the following notation on each copy: “U.S.

18 Government Property; May Not Be Used Without U.S. Government Permission.”

19          8.      If defense counsel releases custody of any of the protected discovery, or authorized

20 copies thereof, to any person described in paragraph three, defense counsel shall provide such

21 recipients with copies of this Order and advise that person that the protected discovery is the

22 property of the United States Government, that the protected discovery and information therein may

23 only be used in connection with the litigation of this case and for no other purpose, and that an

24 unauthorized use of the protected discovery may constitute a violation of law and/or contempt of

25 court.

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 1         9.     Defense counsel shall be responsible for advising his or her respective defendant,

 2 employees and other members of the defense team, and defense witnesses of the contents of this

 3 Stipulation/Order.

 4 IT IS SO STIPULATED.

 5
     DATED:       February 22, 2016
 6

 7                                      /s/ Jared C. Dolan___________________
                                        JARED C. DOLAN
 8                                      Assistant United States Attorney
 9 DATED:         February 22, 2016
10
                                        /s/ Hannah Labaree     _____________
11                                      HANNAH LABAREE
                                        Counsel for Defendant Martin Marciano Boone
12

13 DATED:         February 22, 2016
14
                                        /s/ Robert Wilson     _____________
15                                      ROBERT WILSON
                                        Counsel for Defendant Ronda Boone
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18
                                                ORDER
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20         IT IS SO FOUND AND ORDERED this 22nd day of February, 2016.
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       Stipulation and [Proposed] Protective
       Order 2:16-cr-0020 TLN
